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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLUMBIA


Teresa Richardson, et al.,

Plaintiffs,


v.                                                             Case No. 20-cv-2262


Donald J. Trump, et al.,

Defendants



         DEFENDANTS’ SUMMARY OF INFORMATION LEARNED FROM PLANT MANAGERS

         Pursuant to paragraph 4 of the Court’s November 4, 2020, Order, Defendants provide the

following summary of information learned from plant managers as required by paragraph 2 of the

Court’s Order:

 Plant                     1st Sweep    2nd Sweep of      Steps Taken to Deliver to Local

                           of Ballots   Ballots           BOE by 5:00 PM

 Fort Worth PDC            315          8                 All ballots were delivered to BOE
                                                          with the exception of Wichita Falls
                                                          due to travel time. The 2 Wichita
                                                          Falls ballots will be transported
                                                          tonight for delivery tomorrow.


 Abilene PDF               0            2                 One ballot is being transported to San
                                                          Angelo and one ballot is transported
                                                          to Brownwood.
 Amarillo PDF              4            0                 All 4 Ballots were taken by a Clerk
                                                          and a Manager to their individual
                                                          Local Election Offices prior to 1700
                                                          today.
 Lubbock PDC               0            0                 None to transport.


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Dallas PDC           23       12              Dallas County Elections Courier has
                                              picked up 1st sweep and an express
                                              mail clerk is transporting the
                                              remaining to the Local BOE.
North Texas PDC      69       20              All Ballots were separated by BOE
                                              addresses and handed off to Dallas
                                              District     Manager    who     have
                                              designated drivers to deliver the
                                              Ballots to the Local Board of
                                              Elections by 1700. There were 5
                                              ballots belonging to FTW Plant on
                                              last sweep and we will drive volume
                                              to location.
North Houston PDC    78       154             All ballots being transported to the
                                              Local BOE since concluding the final
                                              sweep.
Beaumont PDC         0        0               None to transport.

San Antonio PDC      23       27              All ballots transported to Local BOE.

Austin PDC           2        3               Ballots are being transported to the
                                              Local BOE.
McAllen PDF          15       28              The designated ballot runners for 783
                                              and 785 were notified, all ballots
                                              were picked up and are in transit to
                                              delivered to the BOE offices before
                                              17:00.
Corpus Christi PDF   13       13              Met half-way with Victoria to
                                              connect ballots with MPOO for 783;
                                              connecting 784 to Local BOE.
Midland PDF          0        0               Nothing to transport.

El Paso PDF          6        0               Ballots will be handed to Post Master
                                              and be transported to Local Board of
                                              Election.




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Dated: November 4, 2020                 Respectfully submitted,

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                                        /s/ John Robinson
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